Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 1 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 2 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 3 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 4 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 5 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 6 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 7 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 8 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 9 of 10
Case 3:10-cv-00293-RJC-DCK Document 1-1 Filed 07/01/10 Page 10 of 10
